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jwalters@kmd.law

From:                            Lori Hood <lhood@mayerllp.com>
Sent:                            Thursday, October 12, 2023 10:20 AM
To:                              eosterrieder@kmd.law; bryancotton74@gmail.com
Subject:                         RE: letter


Eric, So happy to speak with you yesterday. While we do not agree with the allegations and conclusions in your letter, we
do look forward to sitting down with you to discuss how both of these charities can do the most good for the community
and Houston. Given the events of the day, conflict between GLBTQ+ charities is ridiculous. Let me know when you are
available to discuss the marks. Have a great day.




LORI HOOD | PARTNER
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From: eosterrieder@kmd.law <eosterrieder@kmd.law>
Sent: Wednesday, October 11, 2023 3:42 PM
To: Lori Hood <lhood@mayerllp.com>; bryancotton74@gmail.com
Subject: letter

Dear The New Faces of Pride Houston,

Attached, please find a letter, and reach me with any questions and comments.

If you or someone else represents The New Faces of Pride Houston in this matter, Lori, then please let me know. Thank
you.

Regards,
Erik

Erik J. Osterrieder
IP Attorney

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